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IN THE UNITED sTATEs DISTRICT COURBS AUG _3 m w 29
FoR THE WESTERN DISTRICT 0F TENNESSEE

 

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afsc us assist cum
UNITED STATES OF AMERICA, ‘ ` ` k
Respondent, Case No.: 00-20169 D
V.
MANDELL ARNOLD,

Petitioner.

 

ORDER ON EX-PARTE PETITION FOR MODIFICATION OF
SUPERVISED RELEASE

 

Before the court is Petitioner’s motion for modification of supervised release. As cause for
the motion, Petitioner states that he has successfully completed over one~year supervised release
without an infraction Petitioner asks the court to terminate supervision

Upon review of the petition, the court finds that the Petitioner has not articulated cause for
modification of supervised release. The Probation Departrnent will monitor his supervised release
and at such time as the factors have been rnet where supervision should be tenninated, the Probation
Departrnent will sua sponte notify the court.

Accordingly, Petitioner’s motion is DISMISSED and denied without prejudice

IT IS SO ORDERED this g?a¢ day o@j{i, 2005.

CE BOU ONALD
w UNITED STATES DISTRICT JUDGE

  

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Honorable Bernice Donald
US DISTRICT COURT

